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     IT IS ORDERED as set forth below:



     Date: September 13, 2019
                                                      _____________________________________
                                                                 Wendy L. Hagenau
                                                            U.S. Bankruptcy Court Judge

_______________________________________________________________




                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

 In re:                                       )          Chapter 11
                                              )
 EAT HERE BRANDS, LLC, et al.1,               )          Lead Case No. 19-61688-WLH
                                              )
                  Debtors.                    )          Jointly Administered
                                              )

     FINAL ORDER (A) PROHIBITING UTILITIES FROM ALTERING, REFUSING, OR
       DISCONTINUING SERVICE ON ACCOUNT OF PREPETITION INVOICES, (B)
      DEEMING UTILITIES ADEQUATELY ASSURED OF FUTURE PERFORMANCE,
        AND (C) ESTABLISHING PROCEDURES FOR DETERMINING ADEQUATE
                           ASSURANCE OF PAYMENT

          This matter is before the Court on the Emergency Motion for Interim and Final Orders

 (A) Prohibiting Utilities from Altering, Refusing, or Discontinuing Service on Account of

 Prepetition Invoices, (B) Deeming Utilities Adequately Assured of Future Performance, and


 1
         The Debtors in these chapter 11 cases, along with the last four digits of each DebtRU¶V
 federal tax identification number, are as follows: Eat Here Brands, LLC (9694); Babalu Atlanta
 #1 LLC (4025); Babalu Atlanta #2 LLC (5240); Babalu Knoxville #1 LLC (3163); Babalu
 Memphis #1 LLC (9320); Babalu Memphis #2 LLC (4558); Babalu, LLC (7673); and Babalu
 Birmingham #1 LLC (1892)7KH'HEWRUV¶PDLOLQJDGGUHVVLV 9755 Dogwood Road, Suite 200,
 Roswell, Georgia 30075.


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 (C) Establishing Procedures for Determining Adequate Assurance of Payment [Docket No. 14]

 WKH ³Motion´  RI Eat Here Brands, LLC, Babalu Atlanta #1 LLC, Babalu Atlanta #2 LLC,

 Babalu Knoxville #1 LLC, Babalu Memphis #1 LLC, Babalu Memphis #2 LLC, Babalu, LLC,

 DQG %DEDOX %LUPLQJKDP  //& FROOHFWLYHO\ WKH ³Debtors´ . On August 1, 2019, the Court

 entered an order [Docket No. 32] granting the Motion on an interim basis and scheduled a Final

 Hearing on September 12, 2019 at 1:30 p.m. All capitalized terms used but not defined herein

 shall have the meanings given to them in the Motion.

         The Court has considered the Motion, the Declaration of Ned Lidvall, Chief Executive

 Officer of the Debtors, in Support of Chapter 11 Petitions and First-Day Orders [Docket No. 5],

 and the matters reflected in the record of the hearings held on the Motion on August 1, 2019 and

 September 12, 2019. It appears that the Court has jurisdiction over this proceeding; that this is a

 core proceeding; that notice of the Motion has been given to the parties identified on the Master

 Service List in these Bankruptcy Cases as approved by WKLV &RXUW¶V Order Establishing Notice

 and Administrative Procedures [Docket No. 33] and the Utility Providers; that no further notice

 is necessary; that the relief sought in the Motion is in the best interests of the Debtors, their

 estates, and their creditors; and that good and sufficient cause exists to grant the relief requested

 in the Motion

         Accordingly, it is hereby ORDERED as follows:

         1.       The Motion is GRANTED on a final basis.

         2.       The terms and conditions of this Order shall be immediately effective and

 enforceable upon its entry.




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         3.       The Debtors are directed to pay on a timely basis, in accordance with its pre-

 petition practices, all undisputed invoices in respect of post-petition utility services rendered by

 the Utility Companies to the Debtors.

         4.       If a Utility Company requested to receive the Adequate Assurance Deposit, the

 Debtors are authorized and directed to pay the appropriate Adequate Assurance Deposit to the

 Utility Company. A Utility Company seeking the proposed Adequate Assurance Deposit must

 have requested the Adequate Assurance Deposit in writing to counsel for the Debtors,

 Arnall Golden Gregory LLP, 171 17th Street, Atlanta, Georgia 30363-1031, (Attention: Darryl

 S. Laddin, Esq.), so that it was received on or before 4:00 p.m. (Eastern Time) on

 September 3, 2019.

         5.       As a condition of receiving the Adequate Assurance Deposit, the requesting

 Utility Company shall be deemed to have stipulated that (i) the Adequate Assurance Deposit

 constitutes adequate assurance of payment to such Utility Company within the meaning of

 Section 366 of the Bankruptcy Code and (ii) it shall not seek additional or different adequate

 assurance during the course of these Bankruptcy Cases absent further order from this Court and a

 showing of changed circumstances.

         6.       No Utility Company may alter, refuse, terminate, or discontinue services to,

 and/or discriminate against the Debtors on the basis of commencement of these Bankruptcy

 Cases or on account of unpaid invoices for service provided by any of the Utility Companies to

 the Debtors prior to the Petition Date.

         7.       The Determination Procedures set forth in the Interim Order are hereby approved

 on a final basis.




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         8.       In addition, the Debtors are authorized, as necessary, to provide notice and a copy

 of this Final Order to any Additional Utility Companies as such Additional Utility Companies

 are identified. Such Additional Utility Companies shall be subject to the terms of this Final

 Order, including the Determination Procedures. If an Additional Utility Company fails to

 submit a Request within twenty (20) days after being served with this Final Order, the

 Additional Utility Company shall be deemed to have received adequate assurance of

 payment that is satisfactory to such Additional Utility Company pursuant to

 Section 366(c)(2) of the Bankruptcy Code without prejudice to the right of such Additional

 Utility Company to seek relief in the future pursuant to Section 366(c)(3)(A).

         9.       This Court shall retain jurisdiction to hear and determine all matters arising from

 or related to the implementation and/or interpretation of this Order.

         10.      Counsel to the Debtors are directed to serve a copy of this Order on to the parties

 identified on the Master Service List in these Bankruptcy Cases as approved by WKLV &RXUW¶V

 Order Establishing Notice and Administrative Procedures [Docket No. 33] and the Utility

 Providers within three (3) days of the entry of this Final Order and to file a certificate of service

 with the Clerk of the Court.

                                     *** END OF ORDER ***




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 Prepared and presented by:

 ARNALL GOLDEN GREGORY LLP

 /s/ Darryl S. Laddin
 Darryl S. Laddin
 Georgia Bar No. 460793
 Sean C. Kulka
 Georgia Bar No. 648919
 171 17th Street, N.W., Suite 2100
 Atlanta, Georgia 30363-1031
 Phone: (404) 873-8500
 Fax: (404) 873-8683
 Email: darryl.laddin@agg.com
 Email: sean.kulka@agg.com

 Attorneys for Debtors and Debtors in Possession




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                                               United States Bankruptcy Court
                                               Northern District of Georgia
In re:                                                                                                     Case No. 19-61688-wlh
Eat Here Brands LLC                                                                                        Chapter 11
Babalu Atlanta #1 LLC
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 113E-9                  User: jlc                          Page 1 of 3                          Date Rcvd: Sep 13, 2019
                                      Form ID: pdf615                    Total Noticed: 21


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 15, 2019.
db             +Eat Here Brands LLC,    9755 Dogwood Road,    Suite 200,    Roswell, GA 30075,
                 UNITED STATES 30075-4663
aty            +Kate Ellis,   McCarron & Diess,    4530 Wisconsin Ave NW,     Suite 301,
                 Washington, DC 20016-4667
jadmdb         +Babalu Atlanta #1 LLC,    9755 Dogwood Road,    Suite 200,    Roswell, GA 30075,
                 UNITED STATES 30075-4663
jadmdb         +Babalu Atlanta #2 LLC,    9755 Dogwood Road,    Suite 200,    Roswell, GA 30075,
                 UNITED STATES 30075-4663
jadmdb         +Babalu Birmingham #1, LLC,    9755 Dogwood Road,    Suite 200,    Roswell, GA 30075,
                 U 30075-4663
jadmdb         +Babalu Knoxville #1, LLC,    9755 Dogwood Road,    Suite 200,    Roswell, GA 30075,
                 UNITED STATES 30075-4663
jadmdb         +Babalu Memphis #1, LLC,    9755 Dogwood Road,    Suite 200,    Roswell, GA 30075,
                 UNITED STATES 30075-4663
jadmdb         +Babalu Memphis #2 LLC,    9755 Dogwood Road,    Suite 200,    Roswell, GA 30075,
                 UNITED STATES 30075-4663
jadmdb         +Babalu, LLC,   9755 Dogwood Road,    Suite 200,    Roswell, GA 30075,     UNITED STATES 30075-4663
cr             +Creation Gardens, Inc.,    c/o The Maxim Law Firm, P.C.,     1718 Peachtree St NW, Ste 599,
                 Atlanta, GA 30309-2454
cr             +FreshPoint Atlanta, Inc.,    c/o The Maxim Law Firm, PC,     1718 Peachtree St NW,    Suite 599,
                 Atlanta, GA 30309-2454
cr             +FreshPoint North Carolina, Inc. (t/a FreshPoint Ra,      c/o The Maxim Law Firm, PC,
                 1718 Peachtree St NW,    Suite 599,   Atlanta, GA 30309-2454
intp           +Omni Management Group,    5955 DeSoto Avenue, Suite #100,     Woodland Hills, CA 91367-5100
cr             +Sunrise Fresh Produce, LLC (t/a Sunrise Jackson),     c/o The Maxim Law Firm, PC,
                 1718 Peachtree St NW,    Suite 599,   Atlanta, GA 30309-2454
cr             +Sysco Central Alabama, Inc.,    c/o The Maxim Law Firm, PC,     1718 Peachtree St NW,    Suite 599,
                 Atlanta, GA 30309-2454
cr             +Sysco Charlotte, LLC,    c/o The Maxim Law Firm, PC,     1718 Peachtree St NW,    Suite 599,
                 Atlanta, GA 30309-2454
cr             +Sysco Jackson, LLC,    c/o The Maxim Law Firm, PC,    1718 Peachtree St NW,    Suite 599,
                 Atlanta, GA 30309-2454
cr             +Sysco Knoxville, LLC,    c/o The Maxim Law Firm, PC,     1718 Peachtree St NW,    Suite 599,
                 Atlanta, GA 30309-2454
cr             +Sysco Memphis, LLC,    c/o The Maxim Law Firm, PC,    1718 Peachtree St NW,    Suite 599,
                 Atlanta, GA 30309-2454
cr             +TN Dept of Revenue,    c/o TN Attorney General’s Office,     Bankruptcy Division,    PO Box 20207,
                 Nashville, TN 37202-4015

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust            +E-mail/Text: ustpregion21.at.ecf@usdoj.gov Sep 13 2019 22:46:43     United States Trustee,
                 362 Richard B Russell Bldg,   75 Ted Turner Drive, SW,   Atlanta, GA 30303-3315
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
acc               GGG Partners LLC
spc               Schulten Ward Turner & Weiss, LLP
                                                                                                                    TOTALS: 2, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 15, 2019                                            Signature: /s/Joseph Speetjens
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                              Form ID: pdf615              Total Noticed: 21

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                              CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 13, 2019 at the address(es) listed below:
              Constance L. Young    on behalf of Creditor    HGKL Investments Series, LLC - Series I
               constance.young@wbd-us.com, Stephanie.hanley@wbd-us.com;Janice.phillips@wbd-us.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor    Babalu Atlanta #2 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor    Babalu Atlanta #1 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor    Babalu, LLC bkrfilings@agg.com, darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor    Babalu Memphis #2 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor    Babalu, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor    Babalu Atlanta #1 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor    Babalu Atlanta #2 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor    Eat Here Brands LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor    Babalu Birmingham #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor    Babalu Birmingham #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor    Babalu Knoxville #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor    Babalu Memphis #2 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor    Babalu Memphis #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor    Babalu Memphis #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor    Babalu Knoxville #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Ewing, Scott - Omni Management Group    on behalf of Claims Agent    Omni Management Group, Inc.
               sewing@omnimgt.com, ecf@omnimgt.com
              Ewing, Scott - Omni Management Group    on behalf of Interested Party    Omni Management Group
               sewing@omnimgt.com, ecf@omnimgt.com
              Gwendolyn J Godfrey    on behalf of Creditor    Origin Bank ggodfrey@mmmlaw.com,
               dcassidy@mmmlaw.com
              Hal Jordan Leitman    on behalf of Creditor    Federal Realty Investment Trust
               hleitman@rlklawfirm.com,
               swenger@rlklawfirm.com;yalamin@rlklawfirm.com;lawclerk@rlklawfirm.com;R71213@notify.bestcase.com
              J. Hayden Kepner, Jr.    on behalf of Creditor Committee    Official Committee of Unsecured
               Creditors hkepner@swlawfirm.com,
               rwilliamson@swlawfirm.com;centralstation@swlawfirm.com;fharris@swlawfirm.com
              Jeffrey R. Barber    on behalf of Creditor    Fondren Place Development Company, LLC
               jbarber@joneswalker.com, kbrabston@joneswalker.com
              Kelly E. Waits    on behalf of Creditor    Fritz Farm Retail Co., LLC, as assignee of Lexington
               Retail Company, L.L.C. kwaits@burr.com
              Kevin A. Maxim    on behalf of Creditor    FreshPoint North Carolina, Inc. (t/a FreshPoint Raleigh
               and t/a FreshPoint Nashville, Inc.) kmaxim@maximlawfirm.com, kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Jackson, LLC kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    FreshPoint Atlanta, Inc. kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Charlotte, LLC kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sunrise Fresh Produce, LLC (t/a Sunrise Jackson)
               kmaxim@maximlawfirm.com, kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Memphis, LLC kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Central Alabama, Inc. kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Creation Gardens, Inc. kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Knoxville, LLC kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Lindsay P. S. Kolba    on behalf of U.S. Trustee    United States Trustee lindsay.p.kolba@usdoj.gov,
               lisa.maness@usdoj.gov
              Michael F. Holbein    on behalf of Debtor    Eat Here Brands LLC michael.holbein@agg.com,
               angela.ford@agg.com;carol.stewart@agg.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor    Babalu Atlanta #2 LLC r.mercer@swtwlaw.com,
               d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor    Babalu, LLC r.mercer@swtwlaw.com,
               d.hopkins@swtwlaw.com
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                              Form ID: pdf615             Total Noticed: 21


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Robert M.D. Mercer    on behalf of Debtor   Eat Here Brands LLC r.mercer@swtwlaw.com,
               d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor   Babalu Atlanta #1 LLC r.mercer@swtwlaw.com,
               d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor   Babalu Memphis #1, LLC r.mercer@swtwlaw.com,
               d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor   Babalu Memphis #2 LLC r.mercer@swtwlaw.com,
               d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor   Babalu Birmingham #1, LLC
               r.mercer@swtwlaw.com, d.hopkins@swtwlaw.com
              Robert M.D. Mercer    on behalf of JointAdmin Debtor   Babalu Knoxville #1, LLC
               r.mercer@swtwlaw.com, d.hopkins@swtwlaw.com
              Sean C. Kulka   on behalf of Debtor    Eat Here Brands LLC sean.kulka@agg.com
              Stuart Freeman Wilson-Patton    on behalf of Creditor   TN Dept of Revenue agbankgeorgia@ag.tn.gov,
               Stuart.Wilson-Patton@ag.tn.gov
              Theodore N. Stapleton    on behalf of Creditor   S.A.R. & Associates, Inc. tstaple@tstaple.com
                                                                                              TOTAL: 45
